948 F.2d 1281
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Aaron HOLSEY, Plaintiff-Appellant,v.Leroy CARTER, Individually and as a Former Sergeant at theMaryland Penitentiary;  Hendricks, Individually and as aSergeant Assigned to the MD Penitentiary located atBaltimore, Maryland;  C. Johnson, Individually and as aSergeant Assigned to the MD Penitentiary located atBaltimore, MD;  J.S. Smith, Individually and as CorrectionalOfficer Assigned to the MD Penitentiary;  A.W. Turner,Individually and as a Correctional Officer assigned to theMD Penitentiary, Defendants-Appellees,andW. Johnson, Individually and as a Former CorrectionalOfficer of the MD Penitentiary, Defendant.
    No. 91-6652.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 28, 1991.Decided Nov. 15, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Frank A. Kaufman, Senior District Judge.  (CA-79-585-K)
      Aaron Holsey, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Ronald Mark Levitan, Assistant Attorney General, Carmina Szunyog, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, SPROUSE, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Aaron Holsey appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988) on Holsey's claims against Appellees.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Holsey v. Carter, No. CA-79-585-K (D.Md. Sept. 26, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    